  Case 17-27370-RG            Doc 42 Filed 05/23/18 Entered 05/24/18 00:44:09                        Desc Imaged
                                    Certificate of Notice Page 1 of 2
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 17−27370−RG
                                         Chapter: 13
                                         Judge: Rosemary Gambardella

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Wilson Pierre
   638 Springdale Ave
   East Orange, NJ 07017
Social Security No.:
   xxx−xx−4408
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 5/21/18.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within five (5) days from the date of this Order.




Dated: May 21, 2018
JAN: rah

                                                                   Jeanne Naughton
                                                                   Clerk
       Case 17-27370-RG               Doc 42 Filed 05/23/18 Entered 05/24/18 00:44:09                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 17-27370-RG
Wilson Pierre                                                                                              Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 1                          Date Rcvd: May 21, 2018
                                      Form ID: 148                       Total Noticed: 13


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 23, 2018.
db             +Wilson Pierre,   638 Springdale Ave,    East Orange, NJ 07017-1615
517162723      +Bank of America N.A.,   P O Box 982284,    El Paso, TX 79998-2284
517058679      +Cenlar Central Loan Administration & Rep,    c/o Pluese, Becker & Saltzman, LLC,
                 20000 Horizon Way # 900,   Mount Laurel, NJ 08054-4318
517058680      +Essex County Sheriff,   50 West Market Street,    Newark, NJ 07102-1692
517266300      +Lakeview Loan Servicing, LLC,   c/o Cenlar FSB,    425 Phillips Blvd,   Ewing, NJ 08618-1430

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov May 21 2018 23:58:08       U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov May 21 2018 23:58:04       United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
517033382      +E-mail/Text: bkmailbayview@bayviewloanservicing.com May 21 2018 23:58:26
                 Bayview Loan Servicing, LLC,    4425 Ponce De Leon Blvd. 5th Floor,
                 Coal Gables, Florida 33146-1837
517058681       EDI: IRS.COM May 22 2018 03:33:00      Internal Revenue Service,    P.O. Box 7346,
                 Philadelphia, PA 19101-7346
517058682      +E-mail/Text: bankruptcy@pseg.com May 21 2018 23:57:26      PSE&G Attn: Bankruptcy Dept,
                 PO Box 490,   Cranford, NJ 07016-0490
517433327       EDI: BL-TOYOTA.COM May 22 2018 03:33:00      Toyota Motor Credit Corporation,
                 c/o Becket and Lee LLP,   PO Box 3001,    Malvern PA 19355-0701
517133647      +EDI: WFFC.COM May 22 2018 03:33:00      Wells Fargo Bank, N.A.,    Attention Payment Processing,
                 MAC# X2302-04C,   1 Home Campus,    Des Moines, Iowa 50328-0001
517058686      +EDI: WFFC.COM May 22 2018 03:33:00      Wells Fargo Home Mortgage,    P.O. Box 14411,
                 Des Moines, IA 50306-3411
                                                                                               TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
517058683         Rent Parking
517058684         Tenant 1
517058685         Tenant 2
                                                                                                                    TOTALS: 3, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 23, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 21, 2018 at the address(es) listed below:
              Charles G. Wohlrab    on behalf of Creditor   WELLS FARGO BANK, N.A. cwohlrab@logs.com,
               njbankruptcynotifications@logs.com
              Denise E. Carlon    on behalf of Creditor   LakeView Loan Servicing, LLC dcarlon@kmllawgroup.com,
               bkgroup@kmllawgroup.com
              Evelyn D. Latse    on behalf of Debtor Wilson Pierre edlatse@yahoo.com
              Marie-Ann Greenberg     magecf@magtrustee.com
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 5
